 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Alabama        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                               Chapter 11
                                                               Chapter 12
                                                               Chapter 13                                         Check if this is an
                                                                                                                      amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                       04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                      About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Michael
                                        __________________________________________________    Patty
                                                                                             __________________________________________________
       identification (for example,     First name                                           First name
       your driver’s license or          David
                                        __________________________________________________    Marie
                                                                                             __________________________________________________
       passport).                       Middle name                                          Middle name

       Bring your picture                Colbert
                                        __________________________________________________    Colbert
                                                                                             __________________________________________________
       identification to your meeting   Last name                                            Last name
       with the trustee.                 I
                                        ___________________________                          ___________________________
                                        Suffix (Sr., Jr., II, III)                           Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           5    2    1    8                                7    4    5    5
      your Social Security              xxx        – xx – ____ ____ ____ ____                xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                   OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                      9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy               page 1
            Case 21-80944-CRJ7                      Doc 1 Filed 05/26/21 Entered 05/26/21 09:29:16                     Desc Main
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               Michael David Colbert I & Patty Marie Colbert
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                     
                                                                                                             ✔ I have not used any business names or EINs.

     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           310 West Sutton Dr.                                               _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           _________________________________________________                 _________________________________________________


                                           Hazel Green                             AL
                                           _________________________________________________
                                                                                             35750           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           Madison County                                                    _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I           
                                                                                                             ✔ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 2
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                 Michael David Colbert I & Patty Marie Colbert
 Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                  First Name   Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                             
                                             ✔
                                               Chapter 7
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13

 8.    How you will pay the fee              
                                             ✔
                                               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for         
                                  ✔ No
       bankruptcy within the
       last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                  Debtor _________________________________________________                         R elationship to you ___________________________

                                  District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                      
                                             ✔ No.    Go to line 12.
       residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




       Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                              page 3
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                Michael David Colbert I & Patty Marie Colbert
Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                
                                                ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                              page 4
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               Michael David Colbert I & Patty Marie Colbert
Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                    
                                                                                                                ✔ I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official
           Case Form21-80944-CRJ7
                     101                             Doc Voluntary
                                                         1 Filed   Petition for Individuals
                                                                     05/26/21               Filing for
                                                                                       Entered         Bankruptcy09:29:16
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                Michael David Colbert I & Patty Marie Colbert
Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                      No. Go to line 16b.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                      Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
      owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                               
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                  
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Michael David Colbert I
                                                 ______________________________________________               _____________________________
                                                                                                                /s/ Patty Marie Colbert
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    05/26/2021                                                 05/26/2021
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




                                                                                                                                                              page 6
            Official Form 101
            Case 21-80944-CRJ7                         Doc 1 Voluntary
                                                               Filed Petition for Individuals Filing for Bankruptcy
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             Michael David Colbert I & Patty Marie Colbert
Debtor 1      _______________________________________________________                               Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         _________________________________
                                           /s/ Joseph Pleva                                                  Date          _________________
                                                                                                                            05/26/2021
                                            Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                              Joseph Pleva
                                            _________________________________________________________________________________________________
                                            Printed name

                                              Law Offices of Joseph G. Pleva
                                            _________________________________________________________________________________________________
                                            Firm name

                                             3330 L and N Drive SW
                                            _________________________________________________________________________________________________
                                            Number Street

                                             Suite C
                                            _________________________________________________________________________________________________

                                             Huntsville                                                      AL            35801
                                            ______________________________________________________ ____________ ______________________________
                                            City                                                    State        ZIP Code




                                            Contact phone 256-617-7115
                                                          ______________________________         Email address
                                                                                                                 plevalaw@gmail.com
                                                                                                                 _________________________________________



                                             ASB-1642-N72S AL                                                AL
                                            ______________________________________________________ ____________
                                            Bar number                                              State




           CaseForm
           Official 21-80944-CRJ7
                       101                        Doc 1          Filed 05/26/21
                                                               Voluntary                  Entered
                                                                         Petition for Individuals      05/26/21
                                                                                                  Filing           09:29:16
                                                                                                         for Bankruptcy                  Desc Main         page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Michael David Colbert I
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2
                     Patty Marie Colbert
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of AlabamaDistrict of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 239,300.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 246,924.48
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 486,224.48
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 197,529.75
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 155,198.15
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 352,727.90
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 6,189.10
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 6,167.91
                                                                                                                                                                            ________________




            Case 21-80944-CRJ7Summary
Official Form 106Sum
                                 Docof1YourFiled
                                            Assets and Liabilities and Certain Statistical Information
                                                 05/26/21 Entered 05/26/21 09:29:16                                                                                    Desc page
                                                                                                                                                                            Main 1 of 2

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                  Michael Colbert I & Patty Colbert
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,269.88
                                                                                                                                        $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                               0.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                         0.00
                                                                                                            $_____________________




            Case 21-80944-CRJ7Summary
    Official Form 106Sum
                                 Docof1YourFiled
                                            Assets and Liabilities and Certain Statistical Information
                                                 05/26/21 Entered 05/26/21 09:29:16                                                    Desc page
                                                                                                                                            Main 2 of 2

                                        Document           Page 9 of 57
Fill in this information to identify your case and this filing:

                    Michael David Colbert I
Debtor 1
                    First Name               Middle Name                 Last Name

Debtor 2              Patty Marie Colbert
(Spouse, if filing) First Name                 Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of
Alabama
                                                                                                                                                                                                            Check if this is an
Case number                                                                                                                                                                                                 amended filing
(if know)



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                                  12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
case number (if known). Answer every question.


Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?


                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
    1.1 310 West Sutton Dr.                                                        Single-family home
            Street address, if available, or other description                                                                                                  the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                                             Creditors Who Have Claims Secured by Property:
                                                                                      Condominium or cooperative
                                                                                                                                                                Current value of the                Current value of the
                                                                                      Manufactured or mobile home                                               entire property?                    portion you own?
            Hazel Green AL           35750
                                                                                      Land                                                                      $ 239,300.00                        $ 239,300.00
            City          State      ZIP Code
                                                                                      Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                      Timeshare                                                                 interest (such as fee simple, tenancy by the
            Madison County                                                            Other                                                                     entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check one                                 Fee simple
                                                                                   Debtor 1 only
                                                                                      Debtor 2 only                                                                  Check if this is community property
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤             $ 239,300.00


Part 2:            Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes

   3.1 Make:Dodge                                                                Who has an interest in the property? Check one
                                                                                                                                                               Do not deduct secured claims or exemptions. Put
            Model:RAM 2500                                                         Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                      Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2016
                                                                                      Debtor 1 and Debtor 2 only                                                  Current value of the                  Current value of the
            Approximate mileage: 38,500
                                                                                      At least one of the debtors and another                                     entire property?                      portion you own?
               Other information:
              Condition:Very Good;                                                   Check if this is community property (see                                     $ 20,000.00                           $ 20,000.00
                                                                                 instructions)




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Debtor 1          Michael David Colbert I & Patty Marie Colbert                                                                                                   Case number(if known)
                 First Name          Middle Name         Last Name




    3.2 Make:Dodge                                                                Who has an interest in the property? Check one
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:Dekota                                                             Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                       Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             1997
                                                                                       Debtor 1 and Debtor 2 only                                                  Current value of the                 Current value of the
           Approximate mileage:
                                                                                       At least one of the debtors and another                                     entire property?                     portion you own?
                Other information:
              Condition:Poor;                                                         Check if this is community property (see                                     $ 800.00                             $ 800.00
                                                                                  instructions)


    3.3 Make:Honda                                                                Who has an interest in the property? Check one
                                                                                                                                                                Do not deduct secured claims or exemptions. Put
           Model:CRV                                                                Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                       Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2001
                                                                                       Debtor 1 and Debtor 2 only                                                  Current value of the                 Current value of the
           Approximate mileage: 109,000
                                                                                       At least one of the debtors and another                                     entire property?                     portion you own?
              Other information:
              Condition:Fair;                                                         Check if this is community property (see                                     $ 1,200.00                           $ 1,200.00
                                                                                  instructions)


  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤              $ 22,000.00



 Part 3:         Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

          Living room Furniture, Kitchen Furniture, Refrigerator, Bedroom Furniture, Washing Machine, Dryer                                                                                             $ 550.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

          Televisions, Video game Systems, Tablet and Smart Phone                                                                                                                                       $ 280.00
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...




             Case 21-80944-CRJ7                                      Doc 1         Filed 05/26/21 Entered 05/26/21 09:29:16                                                                   Desc Main page 2 of 5
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Debtor 1          Michael David Colbert I & Patty Marie Colbert                                                                                                     Case number(if known)
                First Name            Middle Name           Last Name




  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Plus Size Cloths                                                                                                                                                                               $ 50.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

        Rings                                                                                                                                                                                          $ 100.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...

        4 Dogs                                                                                                                                                                                         $ 0.00
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤               $ 980.00



 Part 4:        Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                          Current value of the
                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                                      claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................      $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Redstone Federal Credit Union - Account ending 440                                                                                 $ 3,134.52

        17.2. Savings account:                                      Redstone Federal Credit Union - Account ending 100                                                                                 $ 1,081.51

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
        Institution or issuer name:
        SAIC                                                                                                                                                                                           $ 1,095.36
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
        LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........




           Case 21-80944-CRJ7                                           Doc 1           Filed 05/26/21 Entered 05/26/21 09:29:16                                                                    Desc Main page 3 of 5
                                                                                       Document     Page 12 of 57
Debtor 1          Michael David Colbert I & Patty Marie Colbert                                                        Case number(if known)
                First Name          Middle Name    Last Name




  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
       Type of account                      Institution name
       401(k) or similar plan:              Vanguard Retirement Fund                                                                            $ 218,633.09
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
           Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                     companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit
             No
         Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                    Federal:                   $ 0.00
                                                                                                                    State:                     $ 0.00
                                                                                                                    Local:                     $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....




            Case 21-80944-CRJ7                                 Doc 1    Filed 05/26/21 Entered 05/26/21 09:29:16                         Desc Main page 4 of 5
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Debtor 1            Michael David Colbert I & Patty Marie Colbert                                                                                                                   Case number(if known)
                  First Name            Middle Name           Last Name




  31. Interests in insurance policies
               No
               Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
               No
               Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
               No
               Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
          claims
               No
               Yes. Give specific information....
  35. Any financial assets you did not already list
               No
               Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
       you have attached for Part 4. Write that number here...........................................................................................................................................➤             $ 223,944.48


 Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
               No. Go to Part 6.
               Yes. Go to line 38.


                    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:            If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above
  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                      ................................................➤
                                                                                                                                                                                                                        $ 0.00

 Part 8:          List the Totals of Each Part of this Form
  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                    $ 239,300.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 22,000.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 980.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 223,944.48
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $      0.00

  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 246,924.48                         Copy personal property total➤          +$
                                                                                                                                                                                                                 246,924.48
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                          $ 486,224.48




             Case 21-80944-CRJ7                                           Doc 1          Filed 05/26/21 Entered 05/26/21 09:29:16                                                                     Desc Main page 5 of 5
                                                                                        Document     Page 14 of 57
 Fill in this information to identify your case:

                     Michael David Colbert I
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Alabama District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                 Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                            4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim
        Debtor 1 Exemptions
                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption
                 310 West Sutton Dr.                                                                                               Ala. Code § 6-10-2
 Brief
 description:
                                                                  239,300.00
                                                                 $________________           
                                                                                             ✔ $ ____________
                                                                                                 16,450.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        1.1
                 2016 Dodge RAM 2500                                                                                               Ala. Code § 6-10-6; 6-10-12
 Brief
 description:
                                                                   20,000.00
                                                                 $________________            $ ____________
                                                                                              ✔  5,000.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:         3.1
                 1997 Dodge Dekota                                                                                                 Ala. Code § 6-10-6; 6-10-12
 Brief
 description:                                                    $________________
                                                                   800.00                    
                                                                                             ✔ $ ____________
                                                                                                 800.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           3.2

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form
          Case106C21-80944-CRJ7                  Doc 1Schedule
                                                          FiledC: 05/26/21
                                                                  The Property You Claim as 05/26/21
                                                                                Entered     Exempt   09:29:16                                                 3
                                                                                                                                                    page 1 of __
                                                                                                                                             Desc Main
                                                       Document           Page 15 of 57
Debtor           Michael David Colbert I
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name       Middle Name        Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                Amount of the                        Specific laws that allow exemption
                                                                       Current value of the   exemption you claim
         on Schedule A/B that lists this property                      portion you own
                                                                      Copy the value from    Check only one box
                                                                       Schedule A/B           for each exemption
               2001 Honda CRV                                                                                                       Ala. Code § 6-10-6; 6-10-12
Brief
description:
                                                                        1,200.00
                                                                       $________________         600.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:        3.3
             Household goods - Living room Furniture, Kitchen                                                                       Ala. Code § 6-10-6; 6-10-12
Brief        Furniture, Refrigerator, Bedroom Furniture, Washing
description: Machine, Dryer                                            $________________
                                                                        550.00                
                                                                                              ✔ $ ____________
                                                                                                  275.00
                                                                                               100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:         6
               Electronics - Televisions, Video game Systems, Tablet                                                                Ala. Code § 6-10-6; 6-10-12
Brief          and Smart Phone
description:                                                           $________________
                                                                        280.00                
                                                                                              ✔ $ ____________
                                                                                                  140.00
                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         7
               Clothing - Plus Size Cloths                                                                                          Ala. Code § 6-10-6; 6-10-126
Brief
description:
                                                                        50.00
                                                                       $________________         25.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         11
               Jewelry - Rings                                                                                                      Ala. Code § 6-10-6; 6-10-126
Brief
description:
                                                                        100.00
                                                                       $________________         50.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:          12
               Pets - 4 Dogs                                                                                                        Ala. Code § 6-10-6; 6-10-12
Brief
description:
                                                                        0.00
                                                                       $________________         0.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         13
               Redstone Federal Credit Union - Account ending 440                                                                   Ala. Code § 6-10-6; 6-10-12
Brief          (Checking)
description:
                                                                        3,134.52
                                                                       $________________         1,567.26
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         17.1
               Redstone Federal Credit Union - Account ending 100                                                                   Ala. Code § 6-10-6; 6-10-12
Brief          (Savings)
description:                                                           $________________
                                                                        1,081.51              
                                                                                              ✔ $ ____________
                                                                                                  540.76
                                                                                               100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:           17.2
               SAIC                                                                                                                 Ala. Code § 6-10-6; 6-10-12
Brief
description:
                                                                        1,095.36
                                                                       $________________       $ ____________
                                                                                              ✔   547.68
                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:        18
               Vanguard Retirement Fund                                                                                             11 USC 522(b)(3)(C)
Brief
description:
                                                                        218,633.09
                                                                       $________________       $ ____________
                                                                                              ✔   109,316.55
                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:           21

Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:


 Official Case
          Form 106C
                 21-80944-CRJ7                     Doc Schedule
                                                       1 Filed  C: The Property YouEntered
                                                                    05/26/21        Claim as Exempt
                                                                                              05/26/21 09:29:16                                 Main___
                                                                                                                                           Desc page      3
                                                                                                                                                     2 of __
                                                         Document          Page 16 of 57
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            Patty Marie Colbert
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Alabama District of __________
                                                                                   (State)
 Case number
  (If known)
                     ___________________________________________                                                                                 Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                            4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                           exemption you claim
        Debtor 2 Exemptions
                                                          Copy the value from                       Check only one box
                                                          Schedule A/B                              for each exemption
                 310 West Sutton Dr.                                                                                               Ala. Code § 6-10-2
 Brief
 description:
                                                                  239,300.00
                                                                 $________________           
                                                                                             ✔ $ ____________
                                                                                                 16,450.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        1.1
                 2001 Honda CRV                                                                                                    Ala. Code § 6-10-6; 6-10-12
 Brief
 description:
                                                                   1,200.00
                                                                 $________________            $ ____________
                                                                                              ✔  600.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:       3.3
              Household goods - Living room Furniture, Kitchen                                                                     Ala. Code § 6-10-6; 6-10-12
 Brief        Furniture, Refrigerator, Bedroom Furniture, Washing $________________
 description: Machine, Dryer
                                                                    550.00                   
                                                                                             ✔ $ ____________
                                                                                                 275.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



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Debtor           Patty Marie Colbert
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name       Middle Name        Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                Amount of the                       Specific laws that allow exemption
                                                                       Current value of the   exemption you claim
         on Schedule A/B that lists this property                      portion you own
                                                                      Copy the value from    Check only one box
                                                                       Schedule A/B           for each exemption
               Electronics - Televisions, Video game Systems, Tablet                                                               Ala. Code § 6-10-6; 6-10-12
Brief        and Smart Phone
description:
                                                                        280.00
                                                                       $________________         140.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         7
               Clothing - Plus Size Cloths                                                                                         Ala. Code § 6-10-6; 6-10-126
Brief
description:                                                           $________________
                                                                        50.00                 
                                                                                              ✔ $ ____________
                                                                                                  25.00
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:         11
               Jewelry - Rings                                                                                                     Ala. Code § 6-10-6; 6-10-126
Brief
description:                                                           $________________
                                                                        100.00                
                                                                                              ✔ $ ____________
                                                                                                  50.00
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          12
               Pets - 4 Dogs                                                                                                       Ala. Code § 6-10-6; 6-10-12
Brief
description:
                                                                        0.00
                                                                       $________________         0.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         13
               Redstone Federal Credit Union - Account ending 440                                                                  Ala. Code § 6-10-6; 6-10-12
Brief          (Checking)
description:
                                                                        3,134.52
                                                                       $________________         1,567.26
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:         17.1
               Redstone Federal Credit Union - Account ending 100                                                                  Ala. Code § 6-10-6; 6-10-12
Brief
description:
               (Savings)                                                1,081.51
                                                                       $________________         540.76
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:           17.2
               SAIC                                                                                                                Ala. Code § 6-10-6; 6-10-12
Brief
description:
                                                                        1,095.36
                                                                       $________________         547.68
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:        18
               Vanguard Retirement Fund                                                                                            11 USC 522(b)(3)(C)
Brief
description:                                                           $________________
                                                                        218,633.09            
                                                                                              ✔ $ ____________
                                                                                                  109,316.55
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:           21

Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                           $________________       $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:


 Official Case
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  Fill in this information to identify your case:

                     Michael David Colbert I
  Debtor 1
                     First Name              Middle Name         Last Name

  Debtor 2            Patty Marie Colbert
  (Spouse, if filing) First Name          Middle Name              Last Name


  United States Bankruptcy Court for the: Northern District of Alabama

  Case number
  (if know)                                                                                                                                                                    Check if this is an
                                                                                                                                                                               amended filing



Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                        12/15


  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
  more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
  name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.



  Part 1:         List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If      Column A               Column B               Column C
     more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, list the claims in   Amount of claim        Value of collateral    Unsecured
     alphabetical order according to the creditor’s name.                                                                         Do not deduct the      that supports this     portion If any
                                                                                                                                  value of collateral.   claim
 2.1                                                                            Describe the property that secures the claim: $ 15,000.00                $ 20,000.00            $ 0.00


          Northwest Federal Credit Union
                                                                              2016 Dodge RAM 2500 - $20,000.00
          Creditor’s Name
          Attn: Loan Payments - PO Box 986512
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Boston MA           02298-6512                                     apply.
          City      State     ZIP Code                                          Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                 At least one of the debtors and another                        An agreement you made (such as mortgage or
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred
                                                                             Last 4 digits of account number

 2.2                                                                            Describe the property that secures the claim: $ 29,529.75                $ 239,300.00           $ 0.00


          Redstone Federal Credit Union
                                                                              310 West Sutton Dr., Hazel Green, AL 35750 - $239,300.00
          Creditor’s Name
          200 Wynn Dr., NW
          Number       Street
                                                                             As of the date you file, the claim is: Check all that
          Huntsville AL           35893                                      apply.
          City        State       ZIP Code                                      Contingent
          Who owes the debt? Check one.                                         Unliquidated
            Debtor 1 only                                                       Disputed
                 Debtor 2 only
                 Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                                                                                An agreement you made (such as mortgage or
                 At least one of the debtors and another
                                                                                secured car loan)
                 Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                 debt                                                           Judgment lien from a lawsuit
                                                                                Other (including a right to offset)
          Date debt was incurred
                                                                             Last 4 digits of account number



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Debtor           Michael David Colbert I & Patty Marie Colbert                                                                    Case number(if known)
                First Name           Middle Name   Last Name




 2.3                                                                      Describe the property that secures the claim: $ 153,000.00           $ 239,300.00          $ 0.00


         Wells Fargo
                                                                        310 West Sutton Dr., Hazel Green, AL 35750 - $239,300.00
         Creditor’s Name
         P.O. Box 10438
         Number         Street
                                                                       As of the date you file, the claim is: Check all that
         Des Moines IA               50306                             apply.
         City                State   ZIP Code                             Contingent
         Who owes the debt? Check one.                                    Unliquidated
           Debtor 1 only                                                  Disputed
                Debtor 2 only
                Debtor 1 and Debtor 2 only                             Nature of lien. Check all that apply.
                At least one of the debtors and another                   An agreement you made (such as mortgage or
                                                                          secured car loan)
                Check if this claim relates to a community                Statutory lien (such as tax lien, mechanic’s lien)
                debt                                                      Judgment lien from a lawsuit
                                                                          Other (including a right to offset)
         Date debt was incurred
                                                                       Last 4 digits of account number

                  Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                        $ 197,529.75



  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to collect from
   you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that
   you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




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   Fill in this information to identify your case:

                        Michael David Colbert I
   Debtor 1
                        First Name          Middle Name           Last Name

   Debtor 2            Patty Marie Colbert
   (Spouse, if filing) First Name          Middle Name              Last Name


   United States Bankruptcy Court for the: Northern District of Alabama

   Case number
   (if know)
                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                   amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                    12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to any executory
 contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts
 and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by
 Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any
 additional pages, write your name and case number (if known).

   Part 1:         List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
         Yes.

   Part 2:         List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured claim, list the
      creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,
      list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                        Total claim


  4.1                                                                         Last 4 digits of account number 3717
          American Express                                                                                                                                                                $ 4,578.60
                                                                              When was the debt incurred? 01/01/2000
          Nonpriority Creditor's Name
          PO Box 650448                                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          Dallas TX            75265-0448                                        Unliquidated
          City      State      ZIP Code                                          Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans
                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.2                                                                         Last 4 digits of account number 7780
          Bank of America                                                                                                                                                                 $ 1,365.08
                                                                              When was the debt incurred? 07/01/2020
          Nonpriority Creditor's Name
          PO Box 982234                                                       As of the date you file, the claim is: Check all that apply.
          Number         Street                                                  Contingent
          El Paso TX           79998-2234                                        Unliquidated
          City         State   ZIP Code                                          Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                                  Student loans

                 Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                                 that you did not report as priority claims
                 At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                         debts
              debt                                                               Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

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 Debtor            Michael David Colbert I & Patty Marie Colbert                                                                 Case number(if known)
                  First Name           Middle Name    Last Name




  4.3                                                                    Last 4 digits of account number 1045
          Bank of the West                                                                                                                                  $ 101,078.24
                                                                         When was the debt incurred? 05/01/2017
          Nonpriority Creditor's Name
          PO Box 2573                                                    As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          Omaha NE             68103                                        Unliquidated
          City       State     ZIP Code                                     Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                             Student loans
                 Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
                 At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify MotorHome - Bank Loan
          Is the claim subject to offset?
              No
                 Yes

  4.4                                                                    Last 4 digits of account number 0588
          Capital One                                                                                                                                         $ 3,500.00
                                                                         When was the debt incurred? 07/01/2014
          Nonpriority Creditor's Name
          P.O Box 60599                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          City of Industry CA            .                                  Unliquidated
          City                 State     ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                             Student loans
                 Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
                 At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.5                                                                    Last 4 digits of account number 3435
          Capital One                                                                                                                                         $ 2,304.34
                                                                         When was the debt incurred? 06/01/2019
          Nonpriority Creditor's Name
          P.O Box 60599                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          City of Industry CA            91716-0599                         Unliquidated
          City                 State     ZIP Code                           Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                             Student loans
                 Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
                 At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




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 Debtor            Michael David Colbert I & Patty Marie Colbert                                                                Case number(if known)
                  First Name           Middle Name   Last Name




  4.6                                                                   Last 4 digits of account number 2043
          Capital One - Savory                                                                                                                               $ 1,500.00
                                                                        When was the debt incurred? 03/01/2020
          Nonpriority Creditor's Name
          P.O Box 60599                                                 As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          City of Industry CA            .                                 Unliquidated
          City                 State     ZIP Code                          Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                            Student loans

                 Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.7                                                                   Last 4 digits of account number 1056
          Citi Cards                                                                                                                                         $ 7,000.00
                                                                        When was the debt incurred? 03/01/2017
          Nonpriority Creditor's Name
          PO Box 70166                                                  As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          Philadelphia PA              19176-0166                          Unliquidated
          City             State       ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                            Student loans
                 Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.8                                                                   Last 4 digits of account number 3068
          Comenity - Good Sam Rewards                                                                                                                        $ 2,500.00
                                                                        When was the debt incurred? 10/01/2017
          Nonpriority Creditor's Name
          PO Box 659450                                                 As of the date you file, the claim is: Check all that apply.
          Number         Street                                            Contingent
          San Antonio TX               78265-9450                          Unliquidated
          City             State       ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                            Student loans
                 Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                 At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




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                                                                               E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                  Desc Main page 3 of 8
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 Debtor            Michael David Colbert I & Patty Marie Colbert                                                               Case number(if known)
                  First Name          Middle Name   Last Name




  4.9                                                                  Last 4 digits of account number 0450
          Comenity - My Place Rewards Credit Card                                                                                                            $ 303.06
                                                                       When was the debt incurred? 08/01/2020
          Nonpriority Creditor's Name
          PO Box 659820                                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          San Antonio TX              78265-9120                          Unliquidated
          City             State      ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                           Student loans

                 Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
                 At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.10                                                                 Last 4 digits of account number 8396
          Cooks Pest Control                                                                                                                                  $ 0.00
                                                                       When was the debt incurred? 01/01/1993
          Nonpriority Creditor's Name
          335 West Park Loop NW                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          Huntsville AL             35806                                 Unliquidated
          City          State       ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                           Student loans
                 Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                          that you did not report as priority claims
                 At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify Pest and Termite
          Is the claim subject to offset?
              No
                 Yes
  4.11                                                                 Last 4 digits of account number Unkn
          Crestwood Hospital                                                                                                                                $ 1,500.00
                                                                       When was the debt incurred?
          Nonpriority Creditor's Name
          Unknown                                                      As of the date you file, the claim is: Check all that apply.
          Number         Street                                           Contingent
          .          AK         .                                         Unliquidated
          City       State      ZIP Code                                  Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
                                                                         Student loans
                 Debtor 2 only
                                                                          Obligations arising out of a separation agreement or divorce
                 Debtor 1 and Debtor 2 only
                                                                          that you did not report as priority claims
                 At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                  debts
              debt                                                        Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




              Case 21-80944-CRJ7
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                                                                              E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                 Desc Main page 4 of 8
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 Debtor            Michael David Colbert I & Patty Marie Colbert                                                             Case number(if known)
                  First Name        Middle Name   Last Name




  4.12                                                               Last 4 digits of account number 9898
          Discover                                                                                                                                        $ 3,060.00
                                                                     When was the debt incurred? 03/01/2020
          Nonpriority Creditor's Name
          PO Box 71084                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Charlotte NC            28272-1084                            Unliquidated
          City          State     ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                         Student loans
                 Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.13                                                               Last 4 digits of account number 1895
          Discover                                                                                                                                        $ 3,381.82
                                                                     When was the debt incurred? 06/01/2019
          Nonpriority Creditor's Name
          PO Box 71084                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          Charlotte NC            28272-1084                            Unliquidated
          City          State     ZIP Code                              Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                         Student loans

                 Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.14                                                               Last 4 digits of account number 4886
          I.C System, Inc. - Mediacom Communications                                                                                                       $ 139.00
                                                                     When was the debt incurred? 01/01/2017
          Nonpriority Creditor's Name
          444 Highway 96 East                                        As of the date you file, the claim is: Check all that apply.
          Number         Street                                         Contingent
          St. Paul MN           55164-0378                              Unliquidated
          City         State    ZIP Code                                Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                         Student loans
                 Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
                 At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                      Other. Specify Collection Agency
          Is the claim subject to offset?
              No
                 Yes




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                                                                            E/F: Creditors Who Have Unsecured Claims
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 Debtor            Michael David Colbert I & Patty Marie Colbert                                                              Case number(if known)
                  First Name         Middle Name   Last Name




  4.15                                                                Last 4 digits of account number 9345
          Lowes Synchrony Bank                                                                                                                             $ 1,783.94
                                                                      When was the debt incurred? 08/01/2015
          Nonpriority Creditor's Name
          P.O. Box 530914                                             As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Atlanta GA           30353-0914                                Unliquidated
          City       State     ZIP Code                                  Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                          Student loans
                 Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.16                                                                Last 4 digits of account number 8660
          Synchrony Bank/Amazon                                                                                                                             $ 713.83
                                                                      When was the debt incurred? 10/01/2015
          Nonpriority Creditor's Name
          PO Box 960013                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896-0013                             Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                          Student loans

                 Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

  4.17                                                                Last 4 digits of account number 0749
          Synchrony Bank - Care Credit                                                                                                                     $ 2,490.24
                                                                      When was the debt incurred? 07/01/2017
          Nonpriority Creditor's Name
          PO Box 960061                                               As of the date you file, the claim is: Check all that apply.
          Number         Street                                          Contingent
          Orlando FL              32896-0013                             Unliquidated
          City         State      ZIP Code                               Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                          Student loans
                 Debtor 1 and Debtor 2 only                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
                 At least one of the debtors and another                 Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                       Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes




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 Debtor            Michael David Colbert I & Patty Marie Colbert                                                                      Case number(if known)
                  First Name            Middle Name   Last Name




  4.18                                                                   Last 4 digits of account number 3157
          The Lending Club, LLC                                                                                                                                               $ 18,000.00
                                                                         When was the debt incurred? 05/01/2019
          Nonpriority Creditor's Name
          6303 Little River Turnpike #230                                As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          Alexandria VA                22312                                Unliquidated
          City           State         ZIP Code                             Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                             Student loans
                 Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
                 At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes
  4.19                                                                   Last 4 digits of account number
          Your Extended Attic                                                                                                                                                       $ 0.00
                                                                         When was the debt incurred? 06/01/2019
          Nonpriority Creditor's Name
          108 Twin Rivers Drive                                          As of the date you file, the claim is: Check all that apply.
          Number         Street                                             Contingent
          Hazel Green AL                35750                               Unliquidated
          City                 State    ZIP Code                            Disputed
          Who owes the debt? Check one.
            Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
                 Debtor 2 only                                             Student loans

                 Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
                 At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                          Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
                 Yes

   Part 3:         List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to
     collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor
     for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill
     out or submit this page.


   Part 4:         Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.



                                                                                                                         Total claim

   Total claims           6a. Domestic support obligations                                                  6a.    $ 0.00
   from Part 1
                          6b. Taxes and certain other debts you owe the government                          6b.    $ 0.00

                          6c. Claims for death or personal injury while you were                            6c.    $ 0.00
                              intoxicated
                          6d. Other. Add all other priority unsecured claims. Write that                    6d.    $ 0.00
                              amount here.
                          6e. Total. Add lines 6a through 6d.                                               6e.
                                                                                                                     $ 0.00




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 Debtor           Michael David Colbert I & Patty Marie Colbert                                                  Case number(if known)
               First Name      Middle Name    Last Name




                                                                                                     Total claim

   Total claims        6f. Student loans                                                   6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or            6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other similar     6h.   $ 0.00
                           debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that   6i.   $ 155,198.15
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                 6j.
                                                                                                  $ 155,198.15




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Official Form 106E/F
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                                                                        E/F: Creditors Who Have Unsecured Claims
                                                                                                                                   Desc Main page 8 of 8
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  Fill in this information to identify your case:


  Debtor 1
                     Michael David Colbert I
                      First Name       Middle Name          Last Name

  Debtor 2            Patty Marie Colbert
  (Spouse, if filing) First Name         Middle Name          Last Name


  United States Bankruptcy Court for the: Northern District of Alabama

  Case number                                                                                                                        Check if this is an
  (if know)                                                                                                                          amended filing




Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of
any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
    (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
    contracts and unexpired leases.


       Person or company with whom you have the contract or lease               State what the contract or lease is for




            Case 21-80944-CRJ7
Official Form 106G
                                                     Doc Schedule
                                                         1 Filed        05/26/21 Entered 05/26/21 09:29:16
                                                                  G: Executory Contracts and Unexpired Leases
                                                                                                                              Desc Main page 1 of 1
                                                            Document               Page 29 of 57
 Fill in this information to identify your case:


 Debtor 1
                Michael David Colbert I
                     First Name       Middle Name          Last Name

 Debtor 2           Patty Marie   Colbert
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: Northern District of Alabama

 Case number                                                                                                                       Check if this is an
 (if know)                                                                                                                         amended filing




Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill
it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your
name and case number (if known). Answer every question.


  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.


       Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                      Check all schedules that apply:




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                                                                              H: Your Codebtors
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 Fill in this information to identify your case:

                      Michael David Colbert I
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2
                      Patty Marie Colbert
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: ______________________      District
                                          Northern District of Alabama
                                                                                   tate)
 Case number         ___________________________________________                                       Check if this is:
  (If known)
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
                                                                                                          ________________
Official Form 106I                                                                                        MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                            Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                                                                         ✔
    information about additional         Employment status                Employed                                        Employed
    employers.                                                           
                                                                         ✔ Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                                                               Project Control Analyst
                                         Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                                                                      Science Applications
                                         Employer’s name               __________________________________
                                                                                                                      International Corpoartion
                                                                                                                     __________________________________


                                         Employer’s address            _______________________________________        6725 Odyssey Drive
                                                                                                                   ________________________________________
                                                                        Number Street                               Number    Street

                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________     ________________________________________

                                                                       _______________________________________         Huntsville, AL 35806
                                                                                                                   ________________________________________
                                                                        City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________                           ________________________
                                                                                                                      32 years


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.           2.            0.00               6,391.67
                                                                                                 $___________           $____________

 3. Estimate and list monthly overtime pay.                                                3.   + $___________
                                                                                                          0.00      +            0.00
                                                                                                                        $____________


 4. Calculate gross income. Add line 2 + line 3.                                           4.            0.00
                                                                                                 $__________                6,391.67
                                                                                                                        $____________




Official Form
          Case106I 21-80944-CRJ7                  Doc 1        Schedule
                                                            Filed       I: Your Income
                                                                  05/26/21         Entered 05/26/21 09:29:16                              page 1
                                                                                                                                   Desc Main
                                                           Document         Page 31 of 57
Debtor 1
                 Michael  David Colbert I & Patty Marie Colbert
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________                6,391.67
                                                                                                                                                  $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________                1,110.72
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________                   63.92
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________                  863.63
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                  728.48
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5g. Union dues                                                                                              5g.
                                     HSA                                                                                + $____________
     5h. Other deductions. Specify: __________________________________                                           5h.             0.00         +          45.83
                                                                                                                                                  $_____________
     AD&D
    _____________________________________________________________                                                        $____________                     6.13
                                                                                                                                                  $____________
     LTD
    _____________________________________________________________                                                        $____________                   27.86
                                                                                                                                                  $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________                2,846.57
                                                                                                                                                  $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________                3,545.10
                                                                                                                                                  $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                       0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.        2,644.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        2,644.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            2,644.00
                                                                                                                         $___________     +           3,545.10
                                                                                                                                                  $_____________      =      6,189.10
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             6,189.10
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Case
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  Fill in this information to identify your case:

                     Michael David Colbert I
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
                      Patty Marie Colbert
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Northern District of Alabama District of __________
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________                                                 expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    No. Go to line 2.
   
   ✔ Yes. Does Debtor 2 live in a separate household?
               ✔ No
               
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Granddaughter                            5             No
                                                                                          _________________________                ________
   names.                                                                                                                                        
                                                                                                                                                 ✔ Yes
                                                                                           Grandson
                                                                                          _________________________                 2
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes
                                                                                           Grandson
                                                                                          _________________________                 1
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes
                                                                                           Grandson
                                                                                          _________________________                 4
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes
                                                                                           Grandson
                                                                                          _________________________                 8
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes
3. Do your expenses include
   expenses of people other than
                                              No
   yourself and your dependents?              Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,550.40
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                       0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                     50.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
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 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                      350.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      500.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                         0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      253.51
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                    1,000.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                       50.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      200.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      810.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      250.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                      100.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                       25.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.   $_____________________
                                                                                                                                      146.00
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      200.00
                                        HSA Contribution
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                       43.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                      550.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.   $_____________________
                                                                                                                                         0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Dog Vet and Grooming
                                                                                                                                          90.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 6,167.91
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 6,167.91
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       6,189.10
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 6,167.91
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                     21.19
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
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              First Name   Middle Name        Last Name



                                                 Continuation Sheet for Official Form 106J
2) Dependents

Relationship: Grandson                    Age: 11                                Lives with: Debtor

Relationship: Son-in-law                  Age: 34                                Lives with: Debtor

Relationship: Daughter                    Age: 34                                Lives with: Debtor

Relationship: Son                         Age: 26                                Lives with: Debtor




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Fill in this information to identify your case:

Debtor 1           Michael David Colbert I
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2           Patty Marie Colbert
                   ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Alabama District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Michael David Colbert I
          ______________________________________________           _____________________________
                                                                     /s/ Patty Marie Colbert
         Signature of Debtor 1                                         Signature of Debtor 2


              05/26/2021
         Date _________________                                              05/26/2021
                                                                       Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
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 Fill in this information to identify your case:

                    Michael David Colbert I
 Debtor 1
                    First Name          Middle Name           Last Name

 Debtor 2            Patty Marie Colbert
 (Spouse, if filing) First Name          Middle Name            Last Name


 United States Bankruptcy Court for the: Northern District of Alabama

 Case number
 (if know)                                                                                                                                                                   Check if this is an
                                                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                                             4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:      Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states
    and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.

                                                                            Debtor 1                                                     Debtor 2


                                                                            Sources of income            Gross income                    Sources of income              Gross income
                                                                            Check all that apply         (before deductions and          Check all that apply           (before deductions and
                                                                                                         exclusions)                                                    exclusions)

         From January 1 of current year until the date you filed
         for bankruptcy:                                                        Wages, commissions,                                          Wages, commissions,
                                                                                                    $ 2,644.00                               bonuses, tips            $ 23,046.20
                                                                                bonuses, tips
                                                                                Operating a business                                        Operating a business



         For last calendar year:
                                                                                Wages, commissions,                                          Wages, commissions,
                                                                                                    $ 46,727.73                              bonuses, tips            $ 78,047.78
         (January 1 to December 31, 2020                                        bonuses, tips
                                                                                Operating a business                                        Operating a business



         For the calendar year before that:
                                                                                Wages, commissions,                                          Wages, commissions,
                                                                                                    $ 68,779.59                              bonuses, tips            $ 70,295.69
         (January 1 to December 31, 2019                                        bonuses, tips
                                                                                Operating a business                                        Operating a business



 5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public
   benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case
   and you have income that you received together, list it only once under Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
       Yes. Fill in the details.

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              First Name         Middle Name         Last Name




                                           Debtor 1                                                                  Debtor 2


                                           Sources of income                       Gross income from each            Sources of income                 Gross income from each
                                           Describe below.                         source                            Describe below.                   source
                                                                                   (before deductions and                                              (before deductions and
                                                                                   exclusions)                                                         exclusions)

  From January 1 of current
  year until the date you filed                                                    $ 0.00
  for bankruptcy:
                                               SSI                                 $ 2,644.00

  For last calendar year:
                                                                                   $
  (January 1 to December 31,
  2020
                                                                                   $

  For the calendar year before
  that:                                                                            $

  (January 1 to December 31,
  2019                                                                             $



 Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8)
             as
             “incurred by an individual primarily for a personal, family, or household purpose.”

              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments
                    and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

              * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                          that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                     Dates of payment            Total amount paid         Amount you still owe     Was this payment for…




                                                                                                                                                       Mortgage
                       Citi Cards                                   03/01/2021                  $ 606.00                 $ 7,000.00
                                                                                                                                                       Car
                       Creditor’s Name                              02/12/2021
                                                                                                                                                       Credit card
                                                                    01/05/2021
                       PO Box 70166                                                                                                                    Loan repayment
                       Number     Street                                                                                                               Suppliers or
                       Philadelphia PA           19176-0166                                                                                         vendors
                                                                                                                                                       Other
                       City             State    ZIP Code



                                                                                                                                                       Mortgage
                       American Express                             02/12/2021                  $ 800.00                 $ 4,578.60
                                                                                                                                                       Car
                       Creditor’s Name                              01/13/2021
                                                                                                                                                       Credit card
                                                                    12/15/2020
                       PO Box 650448                                                                                                                   Loan repayment
                       Number     Street                                                                                                               Suppliers or
                       Dallas TX          75265-0448                                                                                                vendors
                                                                                                                                                       Other
                       City     State     ZIP Code



7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders include your
   relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer,
   director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
   proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.


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         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.



 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract disputes.
         No
         Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
    appointed receiver, a custodian, or another official?
         No
         Yes


 Part 5:        List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.



 Part 6:        List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?
         No
         Yes. Fill in the details.



 Part 7:        List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




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                                                                     Description and value of any property transferred           Date payment or     Amount of
                                                                                                                                 transfer was made   payment
                                                                                                                                 4/20/2021           $ 1,400.00
          Joseph G. Pleva                                                                                                                            $
          Person Who Was Paid
          3330 L and N Dr., SW, Suite C
          Number         Street
          Huntsville AL           35801
          City          State     ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred
    in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.



 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
    brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
    securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.



 Part 9:          Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.
         No
         Yes. Fill in the details.



 Part 10:         Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic

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    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.



 Part 11:        Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

              A member of a limited liability company (LLC) or limited liability partnership (LLP)

              A partner in a partnership

              An officer, director, or managing executive of a corporation

              An owner of at least 5% of the voting or equity securities of a corporation

         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




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 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Michael David Colbert I                                     /s/ Patty Marie Colbert
         Signature of Debtor 1                                           Signature of Debtor 2

         Date 05/26/2021                                                 Date 05/26/2021

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                       Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




              Case 21-80944-CRJ7
Official Form 107
                                                         Doc   1 Filed 05/26/21 Entered 05/26/21 09:29:16
                                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                             Desc Main page 6 of 6
                                                                 Document                   Page 43 of 57
Fill in this information to identify your case:

                  Michael David Colbert I
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name
                  Patty Marie Colbert
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Alabama District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:           Northwest Federal Credit Union
                                                                                        Retain the property and redeem it.                Yes
         Description of          2016 Dodge RAM 2500
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        Wells Fargo                                                  Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.               
                                                                                                                                          ✔ Yes
         Description of          310 West Sutton Dr.
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s      Redstone Federal Credit Union                                  Surrender the property.                           No
         name:
                                 310 West Sutton Dr.                                    Retain the property and redeem it.               
                                                                                                                                          ✔ Yes
         Description of
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

            Case
  Official Form 108         21-80944-CRJ7    Docof1Intention
                                        Statement      Filed for05/26/21         Entered
                                                                 Individuals Filing         05/26/21
                                                                                    Under Chapter 7  09:29:16                             Desc Main
                                                                                                                                               page 1
                                                     Document            Page 44 of 57
                     Michael David Colbert I & Patty Marie Colbert
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Michael David Colbert I
         ___________________________________________           /s/ Patty Marie Colbert
                                                                  ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             05/26/2021
     Date _________________
                                                                        05/26/2021
                                                                   Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form
          Case 10821-80944-CRJ7 Statement
                                 Doc 1 of Intention for IndividualsEntered
                                          Filed 05/26/21           Filing Under Chapter 7
                                                                              05/26/21                        09:29:16        Desc page
                                                                                                                                   Main2
                                                          Document             Page 45 of 57
 Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1         Michael  David Colbert I
                  __________________________________________________________________
                     First Name                Middle Name                  Last Name

                    Patty Marie Colbert
                                                                                                       
                                                                                                       ✔   1. There is no presumption of abuse.
 Debtor 2           ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name                     2. The calculation to determine if a presumption of
                                                                                                              abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         Northern District   ofofAlabama
                                                       District   _______________
                                                                                                              Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                           3. The Means Test does not apply now because of
 (If known)
                                                                                                              qualified military service but it could apply later.


                                                                                                        Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
        
        ✔     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                      0.00
                                                                                                           $_________            5,269.88
                                                                                                                                $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                0.00
                                                                                                           $_________            0.00
                                                                                                                                $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                              0.00
                                                                                                           $_________            0.00
                                                                                                                                $__________

   5. Net income from operating a business, profession,
                                                        Debtor 1                         Debtor 2
      or farm
      Gross receipts (before all deductions)              0.00
                                                        $______                            0.00
                                                                                          $______
        Ordinary and necessary operating expenses                         0.00
                                                                       – $______           0.00
                                                                                        – $______
                                                                                                     Copy
      Net monthly income from a business, profession, or                   0.00
                                                                         $______          0.00
                                                                                         $______     here0.00
                                                                                                          $_________             0.00
                                                                                                                                $__________
      farm
   6. Net income from rental and other real property                      Debtor 1       Debtor 2
      Gross receipts (before all deductions)                               0.00
                                                                          $______         0.00
                                                                                         $______
        Ordinary and necessary operating expenses                         0.00
                                                                       – $______           0.00
                                                                                        – $______
                                                                                                    Copy
        Net monthly income from rental or other real property             $______         0.00
                                                                                         $______          0.00
                                                                                                    here$_________
                                                                                                                                 0.00
                                                                                                                                $__________
  7. Interest, dividends, and royalties                                                                     0.00
                                                                                                           $_________            0.00
                                                                                                                                $__________



          Case
Official Form    21-80944-CRJ7 Chapter
              122A-1             Doc 71Statement
                                           Filed of05/26/21      Entered
                                                    Your Current Monthly    05/26/21
                                                                         Income                                       09:29:16          Desc Main
                                                                                                                                               page 1
                                                                Document                Page 46 of 57
Debtor 1          Michael  David Colbert I
                  _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                        0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................     0.00
                                                                                                        $______________
           For your spouse ..................................................................             0.00
                                                                                                        $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                             0.00
                                                                                                                                     $__________                    0.00
                                                                                                                                                                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________
       ______________________________________                                                                                          0.00
                                                                                                                                     $_________                     0.00
                                                                                                                                                                  $___________

       Total amounts from separate pages, if any.                                                                                + $_________
                                                                                                                                    0.00                       + $___________
                                                                                                                                                                   0.00


   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                   0.00                 +        5,269.88          =    5,269.88
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          5,269.88
                                                                                                                                                                                      $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.     63,238.56
                                                                                                                                                                                      $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                                   AL

       Fill in the number of people in your household.                                                  10

                                                                                                                                                                                        135,842.00
                                                                                                                                                                                      $__________
       Fill in the median family income for your state and size of household. ................................................................................................. 13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


          Case
Official Form     21-80944-CRJ7 Chapter
              122A-1              Doc 71Statement
                                            Filed of05/26/21      Entered
                                                     Your Current Monthly    05/26/21
                                                                          Income                                                                     09:29:16                Desc Main
                                                                                                                                                                                    page 2
                                                                                         Document               Page 47 of 57
Debtor 1     Michael  David Colbert I
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


              /s/ Michael David Colbert I
                   __________________________________________________________                   ______________________________________
                                                                                                 /s/ Patty Marie Colbert
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       05/26/2021
                  Date _________________                                                              05/26/2021
                                                                                                 Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




          Case
Official Form     21-80944-CRJ7 Chapter
              122A-1              Doc 71Statement
                                            Filed of05/26/21      Entered
                                                     Your Current Monthly    05/26/21
                                                                          Income                                     09:29:16       Desc Main
                                                                                                                                           page 3
                                                             Document           Page 48 of 57
American Express                                         Synchrony Bank - Care Credit
PO Box 650448                                            PO Box 960061
Dallas, TX 75265-0448                                    Orlando, FL 32896-0013

Bank of America                                          Synchrony Bank/Amazon
PO Box 982234                                            PO Box 960013
El Paso, TX 79998-2234                                   Orlando, FL 32896-0013

Bank of the West                                         The Lending Club, LLC
PO Box 2573                                              6303 Little River Turnpike #230
Omaha, NE 68103                                          Alexandria, VA 22312

Capital One                                              Wells Fargo
P.O Box 60599                                            P.O. Box 10438
City of Industry, CA 91716-0599                          Des Moines, IA 50306

Capital One                                              Your Extended Attic
P.O Box 60599                                            108 Twin Rivers Drive
City of Industry, CA                                     Hazel Green, AL 35750

Capital One - Savory
P.O Box 60599
City of Industry, CA

Citi Cards
PO Box 70166
Philadelphia, PA 19176-0166

Comenity - Good Sam Rewards
PO Box 659450
San Antonio, TX 78265-9450

Comenity - My Place Rewards Credit Card
PO Box 659820
San Antonio, TX 78265-9120

Cooks Pest Control
335 West Park Loop NW
Huntsville, AL 35806

Crestwood Hospital
Unknown

Discover
PO Box 71084
Charlotte, NC 28272-1084

I.C System, Inc. - Mediacom Communications
444 Highway 96 East
St. Paul, MN 55164-0378

Lowes Synchrony Bank
P.O. Box 530914
Atlanta, GA 30353-0914

Northwest Federal Credit Union
Attn: Loan Payments - PO Box 986512
Boston, MA 02298-6512

Redstone Federal Credit Union
200 Wynn Dr., NW
Huntsville, AL 35893




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                                          Document     Page 49 of 57
                              United States Bankruptcy Court
                               Northern District of Alabama




         Michael David Colbert I & Patty Marie Colbert
In re:                                                          Case No.

                                                                Chapter     7
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               05/26/2021                        /s/ Michael David Colbert I
Date:
                                                 Signature of Debtor

                                                  /s/ Patty Marie Colbert
                                                 Signature of Joint Debtor




Case 21-80944-CRJ7       Doc 1     Filed 05/26/21 Entered 05/26/21 09:29:16     Desc Main
                                  Document     Page 50 of 57
 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

        You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $78     administrative fee
                                                                 +          $15     trustee surcharge
        Your debts are primarily consumer debts.
                                                                           $338     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose.”                                     debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
        Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                                                                 may deny your discharge.
                      for family farmers or
                      fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                                                                 debts are not discharged under the law.
                      for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                      income
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1


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                                         Document     Page 51 of 57
    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $571    administrative fee
 state, you must file a second form —the                                  $1,738    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2


Case 21-80944-CRJ7              Doc 1     Filed 05/26/21 Entered 05/26/21 09:29:16                         Desc Main
                                         Document     Page 52 of 57
 Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200   filing fee                                    future earnings. If the court approves your
 +           $78   administrative fee                            plan, the court will allow you to repay your
            $278   total fee
                                                                 debts, as adjusted by the plan, within 3 years or
                                                                 5 years, depending on your income and other
 Similar to chapter 13, chapter 12 permits
                                                                 factors.
 family farmers and fishermen to repay their
 debts over a period of time using future                        After you make all the payments under your
 earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
 not paid.                                                       debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
                                                                     most student loans,
             individuals with regular
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee                                        debts for fraud or defalcation while acting
 +          $78    administrative fee                                 in a fiduciary capacity,
           $313    total fee
                                                                     most criminal fines and restitution
                                                                      obligations,
 Chapter 13 is for individuals who have regular
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your                         personal injury, and
 debts are not more than certain dollar amounts                      certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3


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                                                                 A married couple may file a bankruptcy case
     Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
 mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
 for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4


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     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                             Northern District of Alabama
                                               __________________________________
     In re   Michael David Colbert I & Patty Marie Colbert

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,400.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,400.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition for bankruptcy;
b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
d. Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation agreements and
applications as needed;




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods; Representation of the debtors in any
dischargeability actions, judicial lien avoidances, relief from stay actions, stay violation actions, discharge violation actions, or any other adversary
proceeding. Representation at any 2004 Examinations; Representation at adjourned 341 Hearing when original hearing could not be concluded
due to error or omission of debtor; motions to reopen caused by debtor's failure to timely complete post filing financial management course.




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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        05/26/2021                       /s/ Joseph Pleva, ASB-1642-N72S AL
      _____________________             _________________________________________
      Date                                     Signature of Attorney
                                         Law Offices of Joseph G. Pleva
                                        _________________________________________
                                             ​Name of law firm
                                         3330 L and N Drive SW
                                         Suite C
                                         Huntsville, AL 35801
                                         256-617-7115
                                         plevalaw@gmail.com




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